Case 22-10778-JKS    Doc 4-2   Filed 08/23/22   Page 1 of 8




                        Exhibit B

                    Jordan Declaration
                 Case 22-10778-JKS             Doc 4-2        Filed 08/23/22        Page 2 of 8




                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                                                       )
In re:                                                                 )    Chapter 11
                                                                       )
CARESTREAM HEALTH, INC., et al.,1                                      )    Case No. 22-10778 (___)
                                                                       )
                                    Debtors.                           )    (Joint Administration Requested)
                                                                       )

                 DECLARATION OF ROBERT JORDAN IN SUPPORT
               OF DEBTORS’ APPLICATION FOR AUTHORIZATION TO
           EMPLOY AND RETAIN KURTZMAN CARSON CONSULTANTS LLC
         AS CLAIMS AND NOTICING AGENT EFFECTIVE AS OF AUGUST 23, 2022

          I, Robert Jordan, being duly sworn, state the following under penalty of perjury:

          1.     I am Senior Managing Director for Kurtzman Carson Consultants LLC (“KCC”),

whose offices are located at 1290 Avenue of the Americas, New York, New York 10104. Except

as otherwise noted, I have personal knowledge of the matters set forth herein, and if called and

sworn as a witness, I could and would testify competently thereto.

          2.     This declaration (this “Declaration”) is made in support of the Debtors’ Application

for Authorization to Employ and Retain Kurtzman Carson Consultants LLC as Claims and

Noticing Agent Effective as of August 23, 2022 (the “Application”).2

          3.     KCC comprises leading industry professionals with significant experience in both

the legal and administrative aspects of large, complex chapter 11 cases. KCC’s professionals have




1
    The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
    number, are: Carestream Health, Inc. (0334); Carestream Health Acquisition, LLC (0333); Carestream Health
    Canada Holdings, Inc. (7700); Carestream Health Holdings, Inc. (7822); Carestream Health International
    Holdings, Inc. (5771); Carestream Health International Management Company, Inc. (0532); Carestream Health
    Puerto Rico, LLC (8359); Carestream Health World Holdings, LLC (1662); and Lumisys Holding Co.
    (3232). The location of the Debtors’ service address is: 150 Verona Street, Rochester, New York 14608.
2
    Capitalized terms used herein but not otherwise defined herein shall have the meanings ascribed to them in
    the Application.
              Case 22-10778-JKS         Doc 4-2     Filed 08/23/22     Page 3 of 8




experience in noticing, claims administration, solicitation, balloting and facilitating other

administrative aspects of chapter 11 cases. KCC has acted as official claims and noticing agent in

many large bankruptcy cases in this district and in other districts nationwide. KCC’s cases in this

district include the following : In re Alex and Ani, LLC, No. 21-10918 (CTG) (Bankr. D. Del. June

6, 2021) (authorizing employment and retention of KCC as debtors’ claims and noticing agent);

In re Extraction Oil & Gas, Inc., No. 20-11548 (CSS) (Bankr. D. Del. June 16, 2020) (same); In re

Pace Indus., LLC, No. 20-10927 (MFW) (Bankr. D. Del. Apr. 14, 2020) (same); In re TZEW

Holdco LLC, No. 20-10910 (CSS) (Bankr. D. Del. Apr. 14, 2020) (same); In re Art Van Furniture,

LLC, No. 20-10553 (CSS) (Bankr. D. Del. Mar. 8, 2020) (same); In re Valeritas Holdings, Inc.,

No. 20-10290 (LSS) (Bankr. D. Del. Feb. 12, 2020) (same); In re Melinta Therapeutics, Inc.,

No. 19-12748 (LSS) (Bankr. D. Del. Dec. 30, 2019) (same); In re Celadon Grp., Inc.,

No. 19-12606 (KBO) (Bankr. D. Del. Dec. 10, 2019) (same); In re HRI Holding Corp.,

No. 19-12415 (MFW) (Bankr. D. Del. Nov. 15, 2019) (same); In re Highland Capital Mgmt., L.P.,

No. 19-12239 (CSS) (Bankr. D. Del. Oct. 18, 2019) (same); In re Bayou Steel BD Holdings, L.L.C.,

No. 19-12153 (KBO) (Bankr. D. Del. Oct. 3, 2019) (same); In re Pancakes & Pies, LLC

(f/k/a Perkins & Marie Callender’s, LLC), No. 19-11743 (KG) (Bankr. D. Del. Aug. 6, 2019)

(same); In re Emerge Energy Services LP, No. 19-11563 (KBO) (Bankr. D. Del. Jul. 17, 2019)

(same); In re Fuse, LLC, No. 19-10872 (KG) (Bankr. D. Del. Apr. 24, 2019) (same);

In re Achaogen, Inc., No. 19-10844 (BLS) (Bankr. D. Del. Apr. 16, 2019) (same); In re Southcross

Energy Partners, L.P., No. 19-10702 (MFW) (Bankr. D. Del. Apr. 2, 2019) (same); In re Novum

Pharma, LLC, No. 19-10209 (KJC) (Bankr. D. Del. Feb. 5, 2019) (same); In re Egalet Corp.,

No. 18-12439 (BLS) (Bankr. D. Del. Nov. 1, 2018) (same); In re Welded Constr., L.P.,

No. 18-12378 (KG) (Bankr. D. Del. Oct. 23, 2018) (same); In re ATD Corp., No. 18-12221 (KJC)




                                                2
               Case 22-10778-JKS         Doc 4-2     Filed 08/23/22    Page 4 of 8




(Banrk. D. Del. Oct. 5, 2018) (same); In re RM Holdco LLC, No. 18-11795 (MFW)

(Bankr. D. Del. Aug. 7, 2018) (same); In re Heritage Home Grp. LLC, No. 18-11736 (KG)

(Bankr. D. Del. Jul. 31, 2018) (same); In re Tintri, Inc., No. 18-11625 (KJC)

(Bankr. D. Del. Jul. 11, 2018) (same); In re VER Techs. Holdco LLC, No. 18-10834 (KG)

(Bankr. D. Del. Apr. 6, 2018) (same); In re The Walking Co. Holdings, Inc., No. 18-10474 (LSS)

(Bankr. D. Del. Mar. 8, 2018) (same); In re Rand Logistics, Inc., No. 18-10175 (BLS)

(Bankr. D. Del. Jan. 31, 2018) (same).

       4.      As agent and custodian of the Court records pursuant to 28 U.S.C. § 156(c), KCC

will perform at the request of the Clerk’s office the noticing and claims-related services specified

in the Application. In addition, at the Debtors’ request, KCC will perform such other noticing,

claims, technical, administrative, and support services specified in the Application, subject to

28 U.S.C. § 156(c) and the Claims Agent Protocol.

       5.      KCC represents, among other things, the following:

               (a)     KCC is not a creditor of the Debtors;

               (b)     KCC is a “disinterested person” within the meaning of
                       section 101(14) of the Bankruptcy Code, as modified by
                       section 1107(b) of the Bankruptcy Code;

               (c)     KCC will not consider itself employed by the United States
                       government and will not seek any compensation from the United
                       States government in its capacity as the Claims and Noticing Agent
                       in these chapter 11 cases;

               (d)     by accepting employment in these chapter 11 cases, KCC waives
                       any rights to receive compensation from the United States
                       government as claims and noticing agent;

               (e)     in its capacity as the Claims and Noticing Agent in these chapter 11
                       cases, KCC will not be an agent of the United States and will not act
                       on behalf of the United States;




                                                 3
                 Case 22-10778-JKS              Doc 4-2       Filed 08/23/22         Page 5 of 8




                 (f)      KCC will not employ any past or present employees of the Debtors
                          in connection with its work as the Claims and Noticing Agent in
                          these chapter 11 cases;

                 (g)      in its capacity as Claims and Noticing Agent in these chapter 11
                          cases, KCC will not intentionally misrepresent any fact to
                          any person;

                 (h)      KCC will be under the supervision and control of the Clerk’s office
                          with respect to the receipt and recordation of claims and
                          claim transfers;

                 (i)      KCC will comply with all requests of the Clerk’s office and the
                          guidelines promulgated by the Judicial Conference of the United
                          States for the implementation of 28 U.S.C. § 156(c); and

                 (j)      none of the services provided by KCC as Claims and Noticing Agent
                          will be at the expense of the Clerk’s office.

        6.       Although the Debtors do not propose to retain KCC under section 327 of the

Bankruptcy Code pursuant to the Application,3 I caused to be submitted for review by our conflicts

system the names of all known potential parties-in-interest (the “Potential Parties in Interest”) in

these chapter 11 cases. The list of Potential Parties in Interest was provided by the Debtors and

included, among other things, the Debtors, non-Debtor affiliates, significant equity holders, the

Debtors’ current and former directors and officers, secured creditors, top 30 unsecured creditors,

vendors, and other parties. The results of the conflict check were compiled and reviewed by KCC

professionals under my supervision. At this time, and as set forth in further detail herein, KCC is

not aware of any relationship that would present a disqualifying conflict of interest. Should KCC

discover any new relevant facts or relationships bearing on the matters described herein during the

period of its retention, KCC will use reasonable efforts to promptly file a supplemental declaration.




3
    As stated in the Application, such retention will be sought by separate application.



                                                          4
               Case 22-10778-JKS          Doc 4-2     Filed 08/23/22     Page 6 of 8




       7.         To the best of my knowledge, and based solely upon information provided to me

by the Debtors, and except as provided herein, neither KCC, nor any of its professionals, has any

materially adverse connection to the Debtors, their creditors or other relevant parties. KCC may

have relationships with certain of the Debtors’ creditors as vendors or in connection with cases in

which KCC serves or has served in a neutral capacity as claims and noticing agent or administrative

advisor for another chapter 11 debtor.

       8.         KCC is an indirect subsidiary of Computershare Limited (“Computershare”).

Computershare is a financial services and technologies provider for the global securities industry,

including providing administrative transfer agent services such as maintaining records of

shareholdings and share transfers. Within the Computershare corporate structure, KCC operates

as a separate, segregated business unit. As such, any relationships that Computershare and its

affiliates maintain do not create an interest of KCC that is materially adverse to the Debtors’ estates

or any class of creditors or security holders.

       9.         KCC has and will continue to represent clients in matters unrelated to these

chapter 11 cases. In addition, KCC and its personnel have and will continue to have relationships

in the ordinary course of its business with certain vendors, professionals and other parties in

interest that may be involved in the Debtors’ chapter 11 cases. KCC may also provide professional

services to entities or persons that may be creditors or parties in interest in these chapter 11 cases,

which services do not directly relate to, or have any direct connection with, these chapter 11 cases

or the Debtors.

       10.        KCC may have relationships with other professionals to be retained by the Debtors.

Certain former partners and associates of Kirkland & Ellis LLP (“K&E”), proposed counsel to the

Debtors, currently are employed by KCC. Albert Kass, KCC’s Senior Executive Vice President




                                                  5
              Case 22-10778-JKS         Doc 4-2     Filed 08/23/22    Page 7 of 8




of Corporate Restructuring Services, is a former K&E associate. Mr. Kass’ work at K&E was

unrelated to the Debtors and these chapter 11 cases. Beth Friedman, a Senior Director with KCC’s

Corporate Restructuring Services, is a former K&E Restructuring Department Coordinator. Adam

Gorman, a Senior Managing Consultant with KCC’s Corporate Restructuring Services, is a former

K&E project assistant.

       11.     To the best of my knowledge, neither KCC nor any of its partners or employees

represents any interest materially adverse to the Debtors’ estates with respect to any matter upon

which KCC is to be engaged. Based on the foregoing, I believe that KCC is a “disinterested

person” as that term is defined in section 101(14) of the Bankruptcy Code, as modified by

section 1107(b) of the Bankruptcy Code.



                          [Remainder of page intentionally left blank.]




                                                6
              Case 22-10778-JKS        Doc 4-2     Filed 08/23/22     Page 8 of 8




       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct to the best of my information, knowledge and belief.

                                     Respectfully submitted,

Dated: August 23, 2022                /s/ Robert Jordan
Wilmington, Delaware                  Robert Jordan
                                      Senior Managing Director, Corporate Restructuring
                                      Kurtzman Carson Consultants LLC

                                      Proposed Claims and Noticing Agent of the Debtors and
                                      Debtors in Possession
